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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

SKYWAY TOWERS, LLC                           §
                                             §
v.                                           §   CIVIL ACTION NO. 4:20-CV-594-SDJ
                                             §
CITY OF MCKINNEY, TEXAS,                     §
ET AL.                                       §

                      ORDER GOVERNING PROCEEDINGS

      This Order shall govern proceedings in this case. The following deadlines are
hereby set:

      1.     Rule 26(f) attorney conference on or before: October 1, 2020.

      2.     Complete initial mandatory disclosures required by this Order:
             October 13, 2020.

      3.     File joint report of attorney conference: October 19, 2020. This should
             follow initial mandatory disclosures, so a realistic proposal regarding
             depositions and other discovery can be included.

      4.     The case is SET for a Rule 16 management conference on
             Wednesday, November 4, 2020, at 3:30 p.m. at the United States
             Courthouse, 7940 Preston Road, Plano, Texas 75024. Lead counsel for
             each party, with authority to bind their respective clients, and all
             unrepresented parties, shall be present. Continuance of the
             management conference will not be allowed absent a showing of good
             cause. 1




      1  Before the case management conference, counsel and unrepresented parties should
review the most recent versions of the Federal Rules of Civil Procedure and the Local Rules
for the Eastern District of Texas. The Local Rules are available on the Eastern District of
Texas website (www.txed.uscourts.gov).

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                    RULE 26(f) ATTORNEY CONFERENCE

       Rule 26(f) requires attorneys of record and all unrepresented parties to confer
and attempt in good faith to agree on a proposed scheduling order, see Appendix 1,
and to electronically file a joint report outlining their proposals. The conference may
be by telephone.

      Before commencing the Rule 26(f) conference, counsel must discuss settlement
options with their clients, including whether an offer or demand should be made at
the Rule 26(f) attorney conference. Counsel should also inquire whether their clients
are amenable to trial before a United States magistrate judge. Parties willing to
consent should file the appropriate form electronically (see form on Eastern District
of Texas website) as soon as possible, so that the case can be reset for management
conference before the magistrate judge to whom the case is assigned.

      The parties must include the following matters in the joint conference report:

      1.     A brief factual and legal synopsis of the case.

      2.     The jurisdictional basis for this suit.

      3.     A list of the correct names of the parties to this action and any
             anticipated additional or potential parties.

      4.     A list of any cases related to this case pending in any state or federal
             court, identifying the case numbers and courts along with an
             explanation of the status of those cases.

      5.     Confirm that the initial disclosures required by Rule 26(a)(1) and this
             Order have been completed.

      6.     Proposed scheduling order deadlines. Appendix 1 has the standard
             deadlines. Explain any deviations from the standard schedule. Now is
             the time to inform the Court of any special complexities or need
             for more time before the trial setting. The standard schedule is
             planned so that there is time to rule on dispositive motions before
             parties begin final trial preparation.



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     7.    Describe in accordance with Rule 26(f):

           (i)     The subjects on which discovery may be needed, when discovery
                   should be completed, and whether discovery should be conducted
                   in phases or be limited to or focused on particular issues.

           (ii)    Any issues relating to disclosure or discovery of electronically
                   stored information (“ESI”), including the form or forms in which
                   it should be produced (whether native or some other reasonably
                   usable format) as well as any methodologies for identifying or
                   culling the relevant and discoverable ESI. Any disputes regarding
                   ESI that counsel for the parties are unable to resolve during their
                   conference must be identified in the report.

           (iii)   Any agreements or disputes relating to asserting claims of
                   privilege or preserving discoverable information, including ESI
                   and any agreements reached under Federal Rule of Evidence 502
                   (such as the potential need for a protective order and any
                   procedures to which the parties might agree for handling
                   inadvertent production of privileged information and other
                   privilege waiver issues). A party asserting that any information
                   is confidential should immediately apply to the Court for entry of
                   a protective order.

           (iv)    Any changes that should be made in the limitations on discovery
                   imposed by the Rules, whether federal or local, and any other
                   limitations that should be imposed.

           (v)     Whether any other orders should be entered by the Court
                   pursuant to Federal Rule of Civil Procedure 26(c) or Rule 16(b),
                   (c).

     8.    State the progress made toward settlement and the present status of
           settlement negotiations, including whether a demand and/or an offer
           has been made. If the parties have agreed upon a mediator, also state
           the name, address, and phone number of that mediator and a proposed
           deadline for mediation. An early date is encouraged to reduce expenses.
           The Court will appoint a mediator if none is agreed upon.

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      9.     The identity of persons expected to be deposed.

      10.    Estimated trial time and whether a jury demand has been timely made.

      11.    The names of the attorneys who will appear on behalf of the parties at
             the management conference (the appearing attorney must be an
             attorney of record and have full authority to bind the client).

      12.    Whether the parties jointly consent to trial before a magistrate judge.

      13.    Any other matters that counsel deem appropriate for inclusion in the
             joint conference report or that deserve the special attention of the Court
             at the management conference.

                                   DISCOVERY

       Initial mandatory disclosures pursuant to Rule 26(a)(1) shall be completed not
later than 10 days after the deadline for the Rule 26 attorney conference and shall
include the following, in addition to information required by Rule 26(a)(1):

      1.     The correct names of the parties to the action.

      2.     The name and, if known, address and telephone number of any potential
             parties to the action.

      3.     The name and, if known, the address and telephone number of persons
             having knowledge of facts relevant to the claim or defense of any party,
             a brief characterization of their connection to the case, and a fair
             summary of the substance of the information known by such person.
             This may be combined with the list of persons required under Rule
             26(a)(1)(A)(i) so two lists are not needed.

      4.     The authorizations described in Local Rule CV-34.

      5.     A copy of all documents, ESI, witness statements, and tangible things
             in the possession, custody, or control of the disclosing party that are
             relevant to the claim or defense of any party. This may be combined with
             disclosures under Rule 26(a)(1)(A)(ii) so duplication is avoided. In cases

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             involving a disproportionate burden of disclosure of a large number of
             documents on one party, the parties may agree on prior inspection to
             reduce the need for copies. Parties are encouraged to agree upon
             provision of information by electronic means. See Local Rule CV-26(d)
             for the meaning of “relevant to the claim or defense of any party.”

       A party that fails to timely disclose such information will not, unless
such failure is harmless, be permitted to use such evidence at trial, at a
hearing, or in support of a motion. A party is not excused from making its
disclosures because it has not fully completed its investigation of the case. Moreover,
the proportionality standard set forth in Rule 26(b)(2)(C) should be applied in each
case when formulating a discovery control plan. To further the application of the
proportionality standard in discovery, requests for production of ESI and related
responses should be reasonably targeted, clear, and as specific as practicable.

       Early Rule 34 requests may be delivered in compliance with Rule 26(d)(2).
However, these requests are not considered served until the Rule 26(f) conference has
occurred. All other discovery shall not commence until the Rule 26(f) conference. See
FED. R. CIV. P. 26(d), 34. Depositions may be taken, and initial mandatory disclosures
shall occur, before the Rule 16 management conference, so that counsel are in a
position to intelligently discuss additional required discovery and scheduling of the
case.

      Following the management conference, the Court will enter a
scheduling order setting deadlines controlling disposition of the case. If the
Court concludes that a management conference is not necessary after
receiving the parties’ Rule 26(f) report, it may enter a scheduling order and
cancel the management conference.

       The fact that the scheduling order will have a deadline for completion of
discovery is NOT an invitation, or authorization, to withhold documents or
information required to be disclosed as part of initial mandatory disclosures under
the guise of “supplementation.” Attorneys are expected to review their clients’ files
and to conduct at least preliminary interviews of their clients and potential witnesses
under their control, so as to fully comply with the initial mandatory disclosure
requirements by the deadline set in this order. This will allow experts to be timely
identified and prepared to testify, witnesses to be efficiently deposed, and any follow-
up paper discovery to be completed by the deadline to be set for completion of

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discovery. The Court expects that, in most cases, after reading the pleadings and
having a frank discussion of the issues and discovery during the Rule 26 attorney
conference, a review of the opposing party’s initial disclosures should alert an
attorney to any remaining information which should have been disclosed, so that such
information can be provided before the Rule 16 management conference.

                             DISCOVERY DISPUTES

       In the event the parties encounter a discovery dispute, no motions to compel
may be filed until after the parties fulfill the “meet and confer” requirement imposed
by this Court’s Local Rule CV-7(h). If the parties are unable to resolve the dispute
without court intervention, the parties must then call the Court’s chambers to
schedule a telephone conference regarding the subject matter of the dispute prior to
filing any motion to compel. After reviewing the dispute, the Court will resolve the
dispute, order the parties to file an appropriate motion, or direct the parties to call
the discovery hotline.

       A magistrate judge is available during business hours to immediately hear
discovery disputes and to enforce provisions of the rules. The hotline is an appropriate
means to obtain an immediate ruling on whether a discovery request is relevant to
the claims or defenses and on disputes which arise during depositions. The hotline
number is (903) 590-1198. See Local Rule CV-26(e).

                       CONTESTED MOTION PRACTICE

       Counsel and parties shall comply with Local Rules CV-7, 10, 11, and 56, in
addition to the Federal Rules of Civil Procedure. Local Rule CV-7 requires you to
attach affidavits and other supporting documents to the motion or response. Labeled
tabs on the attachments to the courtesy copy will make it easier to find them.

      If a document filed electronically exceeds twenty (20) pages in length, including
attachments, a paper copy of the filed document must be sent contemporaneously to
Judge Jordan’s chambers in Plano. The parties are also encouraged, although not
required, to send a paper copy of any document ten (10) pages or more in length,
including attachments, to Judge Jordan’s chambers.




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      Pursuant to Local Rule CV-7(b), highlight in the courtesy copy the portions of
the affidavits or other supporting documents which are cited in your motion or
response.

       Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and
Local Rule CV-7(f). The parties are reminded that “[t]he court need not wait for the
reply or sur-reply before ruling on the motion.” Local Rule CV-7(f) (emphasis added).

                SAFEGUARDING PERSONAL INFORMATION

        The Judicial Conference of the United States has implemented policies to
protect sensitive private information about parties, witnesses, and others involved in
a civil, criminal, or bankruptcy case. To that end, all documents filed with the Court
and made available to the public, whether electronically or on paper, should limit
certain information as follows:

      •   for Social Security numbers, use only the last four digits;
      •   for financial account numbers, use only the last four digits;
      •   for names of minor children, use only their initials;
      •   for dates of birth, use only the year; and
      •   (in criminal cases) for home addresses, use only the city and state.

      If such information is elicited during testimony or other court proceedings, it
will become available to the public when the official transcript is filed at the
courthouse unless and until it is redacted. The better practice is for you to avoid
introducing this information into the record in the first place. Please take this into
account when questioning witnesses or making other statements in court.

                               FAILURE TO SERVE

      Any defendant who has not been served with the summons and complaint
within 90 days after the filing of the complaint shall be dismissed, without further
notice, unless prior to such time the party on whose behalf such service is required
shows good cause why service has not been made. See FED. R. CIV. P. 4(m).




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                               FICTITIOUS PARTIES

       The name of every party shall be set out in the complaint. See FED. R. CIV. P.
10(a). The use of fictitious names is disfavored by federal courts. See, e.g., Doe v. Blue
Cross & Blue Shield, 112 F.3d. 869 (7th Cir. 1997). It is hereby ORDERED that this
action be DISMISSED as to all fictitious parties. Dismissal is without prejudice to
the right of any party to take advantage of the provisions of Rule 15(c).

                                    SETTLEMENT

      Plaintiff’s counsel shall immediately notify the Court upon settlement.

                                    COMPLIANCE

       Attorneys and pro se litigants who appear in this Court must comply with the
deadlines
     .     set forth in the Federal Rules of Civil Procedure, the Local Rules for the
Eastern District of Texas, and this Order. A party is not excused from the
requirements of a Rule or scheduling order by virtue of the fact that
dispositive motions are pending, the party has not completed its
investigation, the party challenges the sufficiency of the opposing party’s
disclosures, or because another party has failed to comply with this Order
or the rules.

      Failure to comply with relevant provisions of the Local Rules, the Federal
Rules of Civil Procedure, or this Order may result in the exclusion of evidence at trial,
the imposition of sanctions by the Court, or both. Counsel are reminded of Local Rule
AT-3, particularly AT-3(i), (j).

        So ORDERED and SIGNED this 10th day of September, 2020.




                                                     ____________________________________
                                                     SEAN D. JORDAN
                                                     UNITED STATES DISTRICT JUDGE




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                                         Appendix 1

                  PROPOSED SCHEDULING ORDER DEADLINES

      The following actions shall be completed by the date indicated. 1 (The times
indicated are the standard for most cases. Counsel should be prepared to explain
the need for requested changes).

 ________________________             Deadline for motions to transfer.
 1 week after mgmt. conf.

 ________________________             Deadline to add parties.
 6 weeks after mgmt. conf.

 ________________________             Mediation must occur by this date.
 28 weeks after mgmt.
 conf.

 ________________________             Deadline by which the parties shall notify the
 6 weeks prior to                     Court of the name, address, and telephone
 mediation ddl.                       number of the agreed-upon mediator, or request
                                      that the Court select a mediator, if they are
                                      unable to agree on one.

 ________________________             Disclosure of expert testimony pursuant to FED.
 10 weeks after mgmt.                 R. CIV. P. 26(a)(2) and Local Rule CV-26(b) on
 conf.                                issues for which the party bears the burden of
                                      proof.

 ________________________             Deadline for Plaintiff to file amended pleading.
 12 weeks after mgmt.                 (A motion for leave to amend is required.)
 conf.

 ________________________             Disclosure of expert testimony pursuant to FED.
 14 weeks after mgmt.                 R. CIV. P. 26(a)(2) and Local Rule CV-26(b) on
 conf.                                issues for which the party does not bear the
                                      burden of proof.

 ________________________             Deadline for Defendant’s final amended
 14 weeks after mgmt.                 pleadings. (A motion for leave to amend is
 conf.                                required.)


       1 Ifa deadline falls on a Saturday, Sunday, or a legal holiday as defined in FED. R. CIV.
P. 6, the effective date is the first federal court business day following the deadline imposed.


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 6 weeks after disclosure      Deadline to object to any other party’s expert
 of an expert is made          witnesses. Objection shall be made as a motion
                               to strike or limit expert testimony and shall be
                               accompanied by a copy of the expert’s report in
                               order to provide the Court with all the
                               information necessary to make a ruling on any
                               objection.

 ________________________      Deadline for motions to dismiss, motions for
 20 weeks after mgmt.          summary judgment, or other dispositive
 conf. but no later than       motions.
 110 days prior to
 deadline for
 submission of Joint
 Final Pretrial Order

 ________________________      All discovery shall be commenced in time to be
 24 weeks after mgmt.          completed by this date.
 conf.

 ________________________      Notice of intent to offer certified records.
 6 weeks before final
 pretrial conf.

 ________________________      Counsel and unrepresented parties are each
 6 weeks before final          responsible for contacting opposing counsel and
 pretrial conf.                unrepresented parties to determine how they
                               will prepare the Joint Final Pretrial Order and
                               Joint Proposed Jury Instructions and Verdict
                               Form (or Proposed Findings of Fact and
                               Conclusions of Law in non-jury cases).

 ________________________      Video Deposition Designation due. Each party
 5 weeks before final          who proposes to offer a deposition by video shall
 pretrial conf.                serve on all other parties a disclosure identifying
                               the line and page numbers to be offered. All
                               other parties will have seven calendar days to
                               serve a response with any objections and
                               requesting cross examination line and page
                               numbers to be included. Counsel must consult on
                               any objections and only those which cannot be
                               resolved shall be presented to the Court. The
                               party who filed the initial Video Deposition
                               Designation is responsible for preparation of the
                               final edited video in accordance with all parties’

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                                      designations and the Court’s rulings on
                                      objections.
 ________________________             Motions in limine due.
 30 days before final
 pretrial conf.                       File Joint Final Pretrial Order. See
                                      http://www.txed.uscourts.gov/?q=forms/misc

 ________________________             Response to motions in limine due. 2
 2 weeks before final
 pretrial conf.                       File objections to witnesses, deposition extracts,
                                      and exhibits, listed in pre-trial order. 3 (This does
                                      not extend deadline to object to expert
                                      witnesses.)

                                      File Proposed Jury Instructions/Form of Verdict
                                      (or Proposed Findings of Fact and Conclusions of
                                      Law).

 Date will be set by Court.           If numerous objections are filed, the Court may
 Usually within 10 days               set a hearing to consider all pending motions
 prior to final pretrial              and objections.
 conf.


 11/10/2021                           Final Pretrial Conference at 9:00 a.m. at the
                                      United States Courthouse located at 7940
                                      Preston Road, Plano, Texas 75024. Parties
                                      should be prepared to try case. All cases on the
                                      Court’s Final Pretrial Conference docket for this
                                      day have been set at 9:00 a.m. However, prior to
                                      the Final Pretrial Conference date, the Court
                                      will set a specific time between 9:00 a.m. and


       2 This is not an invitation or requirement to file written responses. Most motions in
limine can be decided without a written response. But, if there is particularly difficult or
novel issue, the Court needs some time to review the matter. To save time and space respond
only to items objected to. All others will be considered to be agreed. Opposing counsel shall
confer in an attempt to resolve any dispute over the motions in limine within five calendar
days of the filing of any response. The parties shall notify the Court of all the issues which
are resolved.
       3 Within five calendar days after the filing of any objections, opposing counsel shall
confer to determine whether objections can be resolved without a court ruling. The parties
shall notify the Court of all issues which are resolved. The Court needs a copy of the exhibit
or the pertinent deposition pages to rule on the objection.


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                               4:00 p.m. for each case, depending on which
                               cases remain on the Court’s docket.


 To be determined              10:00 a.m. jury selection and trial (or bench
                               trial) at the United States Courthouse located
                               at 7940 Preston Road, Plano, Texas 75024.
                               Cases that remain for trial following the
                               Court’s Pretrial docket will be tried between
                               December 1, 2021, and December 17, 2021.
                               A specific trial date in this time frame will be
                               selected at the Final Pretrial Conference.




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